     8:17-cr-01158-DCC        Date Filed 01/10/19    Entry Number 42      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                          ANDERSON/GREENWOOD DIVISION


UNITED STATES OF AMERICA

              vs                                        CR NO. 8:17CR01158-DCC

KEITH DARRELL LONG




                                           PLEA

       The defendant, KEITH DARRELL LONG, having withdrawn a previously entered plea

of Not Guilty, pleads GUILTY to Count(s)   l Jd..-    of the Indictment after arraignment in

open court.




Spartanburg, South Carolina
January 10, 2019
